          Case 1:21-cv-11709-ADB Document 50 Filed 01/28/22 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                 EASTERN DIVISION

 PARENTS DEFENDING EDUCATION,
                           Plaintiff,
 v.

 WELLESLEY PUBLIC SCHOOLS, et al.,                     Case No. 1:21-cv-11709
                           Defendants.



                        JOINT NOTICE REGARDING PLAINTIFF’S
                       MOTION FOR A PRELIMINARY INJUNCTION

        On January 14, the parties informed the Court that they were engaged in discussions to

determine whether an agreement can be reached to avoid the need for a preliminary injunction. The

parties requested that the Court refrain from issuing a ruling on the plaintiff’s preliminary-injunction

motion until January 28.

        Since then, the parties have continued to engage in discussions to determine whether an

agreement can be reached to avoid the need for a preliminary injunction. The parties believe that they

are close to an agreement. In the interests of judicial economy, the parties respectfully request that the

Court refrain from issuing a ruling on the plaintiff’s preliminary-injunction motion until Friday,

February 11. The parties will provide the Court with an update on or before February 11 on the status

of the parties’ negotiations.




                                                   1
Case 1:21-cv-11709-ADB Document 50 Filed 01/28/22 Page 2 of 3



Dated: January 28, 2022                  Respectfully submitted,


/s/ John J. Davis                        /s/ J. Michael Connolly

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                                     2
         Case 1:21-cv-11709-ADB Document 50 Filed 01/28/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE
       I certify that on January 28, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF System, which will automatically send e-mail notification to all counsel of record.



                                                                /s/ J. Michael Connolly




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